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           10    Attorneys for Plaintiff
           11                             UNITED STATES BANKRUPTCY COURT
           12                              EASTERN DISTRICT OF CALIFORNIA
           13    In re:
                                                                   Bankruptcy Case No.: 17-90400-D-13G
           14    Jamelia Antoinette Robinson,
                                                                   Adv. No..: 17-09005
           15                             Debtor.                  Docket Control No.: KLN-1
           16    Jamelia Antoinette Robinson,
           17                             Plaintiff,               RENEWED FIRST FEE APPLICATION
                                                                   OF PLAINTIFF’S COUNSEL
           18    vs.

           19    Pacific Motors,

           20                             Defendant.

           21             Neeley Law Firm, PLC and Price Law Group, APC (“Applicants”), counsel for Jamelia
           22    Antoinette Robinson (“Plaintiff”), in the above-captioned bankruptcy case, make this application
           23    for allowance and payment of compensation and reimbursement of expenses for services rendered
           24    and expenses incurred on behalf of Plaintiff.
           25             In addition to this Application, a Declaration by Plaintiff’s Counsel in Support of Renewed
           26    First Fee Application by Plaintiff’s Counsel (the “Declaration”) has been filed. Applicants
           27    respectfully represent as follows:
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            1    I.     FACTUAL BACKGROUND
            2           Plaintiff filed for Chapter 13 bankruptcy relief on May 11, 2017 (“Petition Date”).
            3           Plaintiff hired Applicants to represent her in the present adversary proceeding, which was
            4    filed on June 2, 2017. The present case alleged a violation of the automatic stay of 11 U.S.C. §
            5    362.
            6           At the outset of representation in this case, Plaintiff agreed to compensate Applicants up to
            7    their ordinary hourly rates contingent on a recovery in the case.
            8           Applicants represented Plaintiff throughout the case, which went through several rounds of
            9    settlement negotiations, discovery, pretrial preparations, mediation, settlement, and pending final
           10    disposition of the case.
           11           During the pendency of this case, Applicants spent a total of 153.1 billable hours in their
           12    representation of the Plaintiff. Based upon Applicants’ ordinary hourly rates in effect at the time
           13    these services were rendered, Applicants incurred fees in the amount of $65,123.00 and out-of-
           14    pocket expenses totaling $2,091.75 for a total of fees and expenses of $67,214.75. The
           15    Declaration more fully details and supports the fees and expenses.
           16           The names and hourly rates charged by all of Applicant’s professionals and para-
           17    professionals requesting compensation for fees are:
           18
                  Name                      Position                   Rate
           19
                  Kenneth L Neeley          Attorney                   $450
           20
                  Stuart M Price            Attorney                   $550
           21
                  L. Tegan Rodkey           Attorney                   $350
           22
                  David A Chami             Attorney                   $500
           23
                  Candace J Arroyo          Attorney                   $350
           24
                  Teresa E Maloney          Paralegal                  $120
           25
                  Lidia A Ramirez           Paralegal                  $120
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                  Mari Cervantes            Paralegal                  $120
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                  Gabriel Cruz              Paralegal                  $120
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                  Florence Lirato           Paralegal                  $120

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            1            The rates charged by the professionals in this case are the same the firm charges its other
            2    litigation clients. Applicants are highly qualified, and their billing rates are comparable to
            3    similarly qualified practitioners.
            4            The detailed ordinary and necessary expenses in this case are:
            5      1/15/2018 Airline Ticket, Rental Car, Parking                                           $197.76
                                 Deposition Costs                                                        $1,422.70
            6
                   5/10/2018 Airline Ticket, Uber, Parking                                                 $329.55
            7
                       7/5/2018 Mailing Costs                                                              $111.74
            8      7/17/2018 CourtCall Charge                                                               $30.00
            9

           10            At mediation, Applicants and Plaintiff agreed that Applicants would reduce fees and
           11    expenses to $21,000.00 to allow Plaintiff to keep a monetary recovery of $4,000.00 in addition to
           12    the removal of the secured claim from her Chapter 13 Plan. This represents a 69% reduction in
           13    Applicants’ fees and expenses.
           14            Fees will not be shared with any other firm or professional outside of Applicants’ firms.
           15    The total amount for which approval is sought by Applicants for fees and costs is $21,000.
           16

           17    II.     STANDARDS OF EVALUATION
           18            As set forth above, Applicants billed total fees of $65,123.00 to the Debtor’s bankruptcy
           19    estate for professional services rendered during the Application Period. These amounts were
           20    calculated in accordance with 11 U.S.C. § 330 using the ordinary hourly rate(s) for the attorneys
           21    and para-professionals involved. This has also been referred to as the “lodestar” or basic fee
           22    which, if warranted, may be adjusted upward or downward. See also In re Powerline Oil Co., 71
           23    Bankr. 767 (9th Cir. 1986). To evaluate whether an adjustment is required, the Ninth Circuit has
           24    coupled the "lodestar" approach with consideration of factors enumerated in the Fifth Circuit case
           25    of Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974). See In re
           26    Nucorp Energy, Inc., 764 F.2d 655, passim (9th Cir. 1985); In re Powerline Oil Co., 71 B.R. 767
           27    (9th Cir. B.A.P. 1986). Finally, compensable services must be “performed within a reasonable
           28    amount of time commensurate with the complexity, importance and nature of the problem, issue

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            1    or task addressed.” 11 U.S.C. §330(a)(3)(A).
            2          Applicant:
            3          1. Performed the necessary accounting services with the proper skills;
            4          2. Provided the services necessary to the administration of this case; and
            5          3. Performed these services within an amount of time reasonably commensurate with the
            6              complexity, importance, and nature of each task.
            7          Applicant assisted in all of the foregoing, necessary tasks in a skillful and efficient fashion.
            8    Applicant has also provided a copy of the invoice to the Plaintiff, who has not objected to the
            9    calculation of the total fees, especially in light of the substantial reduction of fees and expenses
           10    offered to her.
           11          WHEREFORE, Applicants respectfully request that this Court enter an Order granting
           12    approval of a total of $21,000.00 to cover both compensation for professional services rendered
           13    by Applicants and reimbursement of actual and necessary expenses incurred by Applicants.
           14          DATED: September 11, 2018              NEELEY LAW FIRM,          PL C

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                                                              /s/ Kenneth L. Neeley
           16                                                 Kenneth L. Neeley
                                                              Attorney for Plaintiff
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